             Case: 09-5480         Document: 29-1       Filed: 12/14/2009    Page: 1

                                           No. 09-5480

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                                                                       FILED
YOUNG BOK SONG,                                     )                            Dec 14, 2009
                                                    )                        LEONARD GREEN, Clerk
       Plaintiff-Appellant,                         )
                                                    )
v.                                                  )       ORDER
                                                    )
BRETT M. GIPSON, Det.; JOHN DOE, I;                 )
JOHN DOE, II, Police Officers in Nashville,         )
Tennessee,                                          )
                                                    )
       Defendants-Appellees.                        )
                                                    )




       Young Bok Song, a Tennessee prisoner proceeding pro se, appeals a district court judgment

dismissing his civil rights complaint filed pursuant to 42 U.S.C. § 1983. Pending are his motions

for appointment of a Korean-language interpreter and for appointment of counsel.             Upon

consideration, both motions are granted.

       Kenneth Kim has indicated that he is willing to serve as Song’s interpreter. We therefore

appoint Mr. Kim to serve in that capacity. Because this is a civil rights case, such service is pro

bono. We direct the clerk to find an attorney to represent Song pro bono. 28 U.S.C. § 1915(e)(1).

We also direct counsel to work with Mr. Kim to ensure that Song understands the proceedings and

the contents of counsel’s brief.



                                           ENTERED BY ORDER OF THE COURT




                                                          Leonard Green
                                                              Clerk
